        Case 1:21-cv-02029-RDB Document 14 Filed 01/05/22 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 Arthur M. Love,
                       Plaintiff,
                                              Case No: RDB-21-2029
        v.
 Larry Hogan, et al.
                       Defendants.


                                            ORDER

       Upon consideration of the Plaintiff’s Motion to Extend Time to file the opposition

to the Motion for Dismiss filed by Defendants, and the Defendants having consented to

that Motion, it is hereby ORDERED, that the time for Plaintiff to file an Opposition to the

Motion to Dismiss filed by Defendants shall be extended to January 14, 2022.



                                                 _______________________________
                                                 JUDGE, UNITED STATES
                                                 DISTRICT COURT FOR THE
                                                 DISTRICT OF MARYLAND
